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                                United States Bankruptcy Court
                                        Eastern District of New York
                                             290 Federal Plaza
                                          Central Islip, NY 11722

IN RE:                                                                               CASE NO: 8−18−72852−reg
   Doreen Hoffman
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                CHAPTER: 11
   xxx−xx−0671
                       DEBTOR(s)


              NOTICE OF DEFICIENT FILING − CHAPTER 11 INDIVIDUAL
NOTICE IS HEREBY GIVEN THAT:
The bankruptcy petition filed by the above−referenced debtor(s) on April 26, 2018, did not include the following
item(s):

DOCUMENTS DUE AT TIME OF FILING OF BANKRUPTCY PETITION

         Voluntary Petition For Individuals Filing For Bankruptcy (Official Form 101) (Signed) (Original)
         List of Creditors (Certified by Attorney or Debtor, if Pro−Se) Typed (Name and Address ONLY)
         Creditor Matrix Pursuant to E.D.N.Y. LBR 1007−3
         Statement About Your Social Security Numbers (Official Form 121)
         Certificate of Credit Counseling or Motion Requesting Exemption or Waiver
         Statement Pursuant to E.D.N.Y. LBR 1073−2(b)
         Notice Required by 11 U.S.C. § 342(b) for Individuals Filings for Bankruptcy (Official Form 2010) −
         Part 7 of Voluntary Petition Not Signed
         Bankruptcy Petition Preparer's Notice, Declaration and Signature (Official Form 119)
         Disclosure of Compensation of Bankruptcy Petition Preparer (Official Form 2800)
         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims Against
         You and Are Not Insiders (Official Form 104) (Signed by Debtor)
         Affidavit Pursuant to E.D.N.Y. LBR 1007−4


DOCUMENTS DUE WITHIN FOURTEEN (14) DAYS OF FILING OF BANKRUPTCY PETITION

         Disclosure of Compensation of Attorney for Debtor 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b)
         (Official Form 2030)
         Summary of Your Assets and Liabilities and Certain Statistical Information (Official Form 106Sum)
         Schedule A/B (Property) (Official Form 106A/B)


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         Schedule C (The Property You Claim as Exempt) (Official Form 106C)
         Schedule D (Creditors Who Have Claims Secured by Property) (Official Form 106D)
         Schedule E/F (Creditors Who Have Unsecured Claims) (Official Form 106E/F)
         Schedule G (Executory Contracts and Unexpired Leases) (Official Form 106G)
         Schedule H (Your Codebtors) (Official Form 106H)
         Schedule I (Your Income) (Official Form 106I)
         Schedule J (Your Expenses) (Official Form 106J)
         Schedule J−2 (Expenses for Separate Household of Debtor 2) (If Applicable) (Official Form 106J−2)
         Declaration About an Individual Debtor's Schedules (Official Form 106Dec)
         Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)
         Chapter 11 Statement of Current Monthly Income (Official Form 122B)
         Copies of Pay Statements received within 60 days of filing from any employer or a statement indicating
         this requirement is not applicable (Show only last four digits of Social Security Number)
         Most recent balance sheet, statement of operations, cash flow statement, and Federal income tax return,
         or a statement that none of the foregoing have been prepared or filed (Small Business − If you are
         self−employed and your debts are less than $2,490,925) (Due Within 7 Days)


                     YOUR CASE MAY BE DISMISSED IF
         YOU DO NOT MAKE THE REQUIRED FILINGS ON A TIMELY BASIS

FURTHER NOTICE IS GIVEN THAT the Court may schedule a hearing to determine whether this
bankruptcy case should be dismissed if the items due at the time of filing of this bankruptcy petition are not filed
with the Court within three days of this notice.

FURTHER NOTICE IS GIVEN THAT the Court may schedule a hearing to determine whether this
bankruptcy case should be dismissed if the items due within 14 days of the filing of this bankruptcy petition are
not timely filed with the Court.

FURTHER NOTICE IS GIVEN THAT Certification About a Financial Management Course (Official Form
423), if applicable, is required if the debtor is an individual and § 1141(d)(3) applies. The Certification About a
Financial Management Course should not be filed if an approved provider has already notified the court of the
debtor's completion of the course. The Certification About a Financial Management Course must be filed no later
than the date of the last payment under the plan or the filing of a motion for a discharge under § 1141(d)(5)(B), 11
U.S.C. § 1141(d)(3) and Fed. R. Bankr. P. 1007(b)(7), (c). If the Certification About a Financial Management
Course is not filed within the allotted time, a discharge will not be issued and the case will be closed.

FURTHER NOTICE IS GIVEN THAT if this bankruptcy case is dismissed for failure to make the required
filings, or for any other reason, then the debtor may not receive the benefit of the automatic stay in a subsequent
bankruptcy case filed for a period of up to one year. See 11 U.S.C. §§ 362(c)(3) and (c)(4).

FURTHER NOTICE IS GIVEN THAT the debtor must serve copies of the Chapter 11 petition on the United
States Trustee, Internal Revenue Service, and Securities and Exchange Commission (see addresses on the next
page).


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BROOKLYN CASES                                                                          CENTRAL ISLIP CASES

Office of the United States Trustee                                                     Office of the United States Trustee
U.S. Federal Office Building                                                            Long Island Federal Courthouse
201 Varick Street, Suite 1006                                                           560 Federal Plaza
New York, New York 10014                                                                Central Islip, New York 11722

Internal Revenue Service                                                                Internal Revenue Service
P.O. Box 7346                                                                           P.O. Box 7346
Philadelphia, PA 19101−7346                                                             Philadelphia, PA 19101−7346

Securities & Exchange Commission                                                        Securities & Exchange Commission
Northeast Regional Office                                                               Northeast Regional Office
Woolworth Building                                                                      Woolworth Building
233 Broadway                                                                            233 Broadway
New York, New York 10279                                                                New York, New York 10279

Dated: April 30, 2018                                                                   For the Court, Robert A. Gavin, Jr., Clerk of Court

BLdef11a1r.jsp [Notice of Deficient Filing Chapter 11 Individual effective 12/1/2015]
